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                                                                                  r~-1~.
 1  James Poet
    501 West Glenoaks Blvd #727
 2 Glendale, CA 91202                                                    1 ~~ ~~' Z2 P 12= 4
   (626)931-0789 Emergency cell                                                     }      a n ~ , ~~ ~ r
 3 Eadnessl @yahoo.com
 4
 5
 6
                                  UNITED STATES DISTRICT COURT
 7
                                CENTRAL DISTRICT OF CALIFORNIA
 8
                                              Western Division
 9
       James Poet,                                 )CASE NO:LA CV 16 07930-DSF-AJWX
10
11            Plaintiff,                          )VERIFIED FIRST AMMENDED COMPLAINT
                                                  )FOR DAMAGES
12            vs.
                                                  )VIOLATION OF 47 USC 227 et seq. TCPA;
13
       TIME WARNER 1NC,                           )VIOLATION OF 15 USC 1692 et seq. FDCPA;
14     TIME WARNER CABLE,INC.                     )VIOLATION OF CALIFORNIA ROSENTHAL
                                                  )FAIR DEBT COLLECTION PRACTICES ACT
15            Defendants.                         )CC 1788 et seq.
16
17                                                  DEMAND FOR TRIAL BY JURY

18
19                            COMPLAINT PRELIMINARY STATEMENT

20            Plaintiff, James Poet(hereinafter "POET"),individually hereby sues Defendants TIME
21     WARNER INC (hereinafter "TW")and TIME WARNER CABLE,INC.(hereinafter "TWC"),
22
       for violations ofthe TCPA 47 USC §227, violations of the FDCPA 15 USC §1692, and the
23
       California Rosenthal Fair Debt Collection Practices Act Civil Code 1788.
24 ~
25            This is an action for damages brought by Plaintiff against Defendants for violations ofthe
26     Telephone Consumer Protection Act(TCPA)47 USC §227(b)(1)(A), Telephone Consumer
27     Protection Act(TCPA)47 USC §227(b)(1)(A)(iii), Fair Debt Collection Practices Act(FDCPA) 'i
28


       VERIFIED COMPLAINT FOR DAMAGES                                                                 Page
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 1    15 USC §1692g,§1692e(8), §1692e(10), the California Rosenthal Fair Debt Collection Practices
 2    Act(CFDCPA).
 3           Plaintiff contends that the Defendants have violated the following laws by repeatedly
 4    harassing Plaintiff in attempts to collect alleged but nonexistent debt, and this debt is allegedly
 5    owed by another person, and willfully and intentionally called Plaintiffs emergency cell phone.
6
                                       JURISDICTION AND VENUE
 7
 8            1.     Jurisdiction ofthis Court arises under 28 U.S.C. §1331,47 U.S.C. §227(b)(3), 15

 9    U.S.C. §1692k(d), California Stat. § 1788, and supplemental jurisdiction exists for the state law
10
      claims pursuant to 28 U.S.C. §1367, Jurisdiction arises under Cal. Civ. Pro. §410.10. Defendants
11
      conduct business in the state of California and therefore, personal jurisdiction is established.
12
13           2.      Venue is proper pursuant to28 U.S.C. §1391b and Cal. Civ. Pro. §395(a). Venue

14    in this District is proper in that the Plaintiff resides here, the Defendants transact business here,

15    and the conduct complained of occurred here.
16
                                                   PARTIES
17
             3.      Plaintiff,"POET" is a natural person and is a resident of Los Angeles County,
18
19    California.

20           4.      Upon information and belief Defendants,("TW")is a California corporation,
21    authorized to do business in California, with Corporate Headquarters at 60 Columbus Circle,
22
      New York, New York 10023, Agent For Service of Process, CT CORPORATION SYSTEM,
23
      818 W.7~' STE 930, Los Angeles, CA 90017.
24
25           5.      Upon information and belief Defendants,("TWC")is a California Corporation,

26    authorized to do business in California, with Corporate Headquarters at 60 Columbus Circle,
27
      New York, New York 10023, Agent For Service of Process, CT CORPORATION SYSTEM,
28
      818 W.7~' STE 930, Los Angeles, CA 90017.

      VERIFIED COMPLAINT FOR DAMAGES                                                                 Page
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  1

 2                                        FACTUAL ALLEGATIONS

 3             7.      Defendants("TW")and("TWC")are creditors to whomever they have
 4
        a business relationship and provided services for which they can collect the account.
 5
               8.      Plaintiff alleges("TW")and("TWC")are a debt collector, and is attempting to
 6
 7      collect a debt, subject to the Fair Debt Collection Practices Act, 15 U.S.C. §1692 et seq.

 8 (``FDCPA"),due to the fact("TW")and("TWC")did not have an established business
 9      relationship with Plaintiff and is attempting to collect a consumer account in an amount from
10
        Plaintiff that Plaintiff does not owe.
11
               9.      Plaintiff is a consumer as the purported debt Defendants("TW")and("TWC")
12
13      has also been attempting to collect a consumer debt, from an unknown person.

14              10.    Referring to the preceding paragraphs, because Defendants("TW")and("TWC"
15      is an entity which is attempting to collect consumer debts from Plaintiff which Plaintiff did not
16
        incur; brings Defendants("TW")and("TWC")within the ambit ofthe California Rosenthal Fair
17
        Debt Collection Practices Act Civil Code 1788("CFDCPA").
18
19              1 1.   Plaintiff has no prior or present established relationship with the Defendants

20 ~' ("TW")and ("TWC").
21 iI
                12.    Plaintiff first received a call on his emergency cell phone from
22 ~I
        and("TWC"), who were looking for a Patricia Rodriguez, a consumer client oftheirs, and they
23 ~
        were calling regarding a past due balance Patricia Rodriguez owed to them.
24
25              13.    Plaintiff informed the person on the phone that it was"POETS" emergency cell

26      phone number,Plaintiff did not know any Patricia Rodriguez, Plaintiff disputed the debt and did
27
28


        VERIFIED COMPLAINT FOR DAMAGES                                                               Page
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       not owe Defendants any money, and under no certain terms Defendants were instructed to not
 1

 2     call Plaintiff again on Plaintiffs emergency cell phone.

 3             14.     Defendants("TW")and("TWC")representative on the phone assured Plaintiff
 4
       that a record of the call was made, their consumer clients name would be removed from this
 5
       number, and that no further calls from Defendants("TW")and("TWC")would come to
 6
       Plaintiff.
 7
 8             15.     Plaintiff has no contractual obligation to pay Defendants("TW")and ("TWC").

 9
               16.     Plaintiff has never given Defendants("TW")and("TWC")Plaintiffs cell phone
10

11     number.

12             17.     Plaintiff has never given Defendants("TW")and("TWC")express permission tc
13     call Plaintiffls cellular phone.
14
               18.     Defendants("TW")and("TWC")has never validated or verified the debt per 15
15
       U.S.C. 1692g, but continues to attempt to collect this disputed debt.
16
17             19.     From October 2015 to Oct 7th,2016, Defendants("TW")and("TWC")called

18 "POETS" emergency cell and sent text messages, ignoring Plaintiffs demand not to call

19
       cell phone, a total of24 phone calls and 8 text messages,for a total of32 times, 31 times after
20
       being instructed not to call Plaintiffs cell phone again. Five ofthese calls are voice messages left
21
       on `POETS' emergency cell.(see Exhibit A attached hereto and incorporated herein by
22

23 i reference).

24 i           20.     These calls from("TW")and("TWC")to Plaintiffs emergency cell phone
25
       number(626)931-0789 from the numbers listed on E~ibit A, were using automatic telephone
26
       dialing system capabilities with artificial or vrerecorded voices, attempting to collect a debt by
27

28


       VERIFIED COMPLAINT FOR DAMAGES                                                               Page
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      leaving a prerecorded message threating to continue collection actions for nonpayment ofa
 1
 2    debt.

 3            21.     The call from("TW")and("TWC")would come to Plaintiffs cell phone, when
 4
      answered Plaintiff would say "hello". There is a pause. An automated prerecorded message
 5
      would play, stating similar: "If you are? Patricia Rodriguez, Press one". When pressing one, a
 6
      further message would continue. The call was not made by human hands nor any conversation
 7

 8    with a human being. This is a separate and distinct damage, cause of action, and violation of

 9    strict liability statute of the TCPA.
10
              22.     On August 29,2016 Plaintiff wrote a Notice of Intent to Sue and Commence
11
      Action by Certified Mail Receipt #70156040000116481185; as a condition precedent to a
12

13    damage suit. The letter was delivered to TIME WARNER.Plaintiff asswned that Defendants

14 ("TW")and ("TWC")would stop the calls after the mailing of the Notice. They did not.
15
              23.     Defendants("TW")and("TWC")calls continued after Plaintiff notified("TW")
16
      and("TWC")to stop(by mail and by phone). Defendants("TW")and("TWC"), does not care,
17
      intentionally, willfully and knowingly violating the strict liability statute with malice, with
18
19    disregard to the Plaintiff.

20            24.     On all the above referenced calls to Plaintiffs cellular phone, Defendants("TW")
21
      and("TWC")asserted a right which it lacks, to wit, the right to enforce a debt.
22
              25.     On all the above referenced calls to Plaintiffs cellular phone, Defendants("TW") ~
23
      and("TWC")failed to identify that they were debt collectors attempting to collect a debt.
24

25            26.     On all the above referenced calls to Plaintiffs cellular phone, Defendants("TW")

26    and("TWC")trespassed on Plaintiff and Plaintiff incurred an injury as his peace was disturbed,
27

28


      VERIFIED COMPLAINT FOR DAMAGES                                                                Page
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      Plaintiffs personal time was wasted, Plaintiff was charged for the call, Plaintiffs wear and tear of
 1
 2    his emergency cell phone and wear of his battery incurred.

 3           27.     Plaintiff has Article III standing.
 4
                                    FIRST CAUSE OF ACTION
 5           VIOLATIONS OF THE TELEPHONE COMMUNICATIONS ACT 47 U.S.C.
            §227(b)(1)(A) AND §227(b)(1)(A)(iii) BY DEFENDANTS("TW")AND(TWC").
 6
 7           28.     Plaintiff's re-alleges and incorporates by reference the facts and allegations

 8    contained in the Paragraphs above as though fully set forth herein.

 9
             29.     This damage is for the calls and texts from Defendants("TW")and("TWC")to
10
11    Plaintiffs emergency cell phone as listed on Exhibit A,for a total of 32 individual violations of

12    statute. As a separate and distinct damage and cause of action, Defendants("TW")and("TWC")
13    has demonstrated intentional and willful or knowing non-compliance with 47 U.S.C.
14
      §227(b)(1)(A) and §227(b)(1)(A)(iii), by violating strict liabiliTy statute; by the following.
15
             47 U.S.C. §227(b)(1)(A) states in part;
16
17          (b)RESTRICTIONS ON THE USE OF AUTOMATED TELEPHONE EQUIPMENT.

18          (1)PROHIBITIONS.—It shall be unlawful for any person within the United States, or
             any person outside the United States if the recipient is within the United States—
19
20           (A)to make any call (other than a call made for emergency purposes or made with the
             prior express consent ofthe called party) using any automatic telephone dialing system
21           an artificial or prerecorded voice-
22
             47 U.S.C. §227(b)(1)(A)(iii) states in part;
23
            (1)PROHIBITIONS.—It shall be unlawful for any person within the United States, or
24           any person outside the United States if the recipient is within the United States—
25
             (A)to make any call (other than a call made for emergency purposes or made with the
26           prior express consent ofthe called party) using any automatic telephone dialing system
             an artificial or prerecorded voice
27
28


      VERIFIED COMPLAINT FOR DAMAGES                                                               Page
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             (iii) to any telephone number assigned to a paging service, cellular telephone service,
             specialized mobile radio service, or other radio common carrier service, or any service
 2           for which the called party is charged for the call;

 3           30.     Defendants("TW")and("TWC")has damaged Plaintiff by violations of47 USC
 4
      227 as follows:
 5
             § 227(b)(1)(A) using an automatic telephone dialing system to call cell phone.
6            § 227(b)(1)(A) making a call without an emergency purpose.
 7           § 227(b)(1)(A) making a call without prior express (written) consent.
             § 227(b)(1)(A) making a call using automatic telephone dialing system.
 8           § 227(b)(1)(A) making a call with an artificial or prerecorded voice.
             § 227(b)(3)(B) making a call without an established business relationship.
 9           § 227(b)(1)(A)(iii) making a call for which Plaintiff is charged for the call.
10           § 227(b)(1)(A)(iii) making a call without permission to call POETS cellular telephone.

11
             31.     Plaintiff spoke with("TW")and("TWC").("TW")and("TWC")assured
12
13    that the calls and collection attempts would stop. But("TW")and("TWC")refuses to cease

14    communication and continues to violate 47 USC§227.
15           32.     An unintentional call carries a damage amount of$500; an intentional call carries
16
      a damage amount of $1,500 per violation.
17
             33.     Defendants("TW")and(TWC")has demonstrated willful or knowing non-
18
19    compliance with 47 U.S.C. §227(b)(1)(A) and §227(b)(1)(A)(iii)by calling the Plaintiffs

20    emergency cell number after being notified it was not their consumers phone number, and that
21
      promising not to further call or bother Plaintiff on his emergency cell phone. The call is subject
22
      to treble damages pursuant to 47 U.S.C. §227(b)(3) as it was intentional and willful.
23
24           34.     Plaintiff and("TW")and("TWC")do not have within the meaning of47 U.S.C.

25    §227(1) an established business relationship,(2)Plaintiff did not give("TW")and("TWC")his

26    personal emergency cell phone number,(3)("TW")and("TWC")did not have express
27
      permission to call Plaintiffs emergency cell phone,(4)Plaintiff notified("TW")and("TWC")to
28


      VERIFIED COMPLAINT FOR DAMAGES                                                              Page
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      stop calling Plaintiffs emergency cell phone,(5)Plaintiff was charged for the call. Plaintiff is
 1

 2    entitled to damages of$1500 per violation pursuant to 47 U.S.C. §227(b)(3)(C).

 3           WHEREFORE,Plaintiff demandsjudgment for damages against("TW")and("TWC")
 4
      for statutory damages of $47,000.00 plus attorney's fees and costs, pursuant to 47 U.S.0 §227.
 5

 6                             SECOND CAUSE OF ACTION
 7      VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT(FDCPA),15 U.S.C.
                   §1692 et seq. BY DEFENDANTS("TW")AND(TWC").
 8

 9           35.     Plaintiff's re-alleges and incorporates by reference the facts and allegations

10    contained in the Paragraphs above as though fully set forth herein.
11
12           36.     Plaintiff is a consumer within the meaning of 15 USC 1692a(3).

13           37.     Defendants("TW")and("TWC")are a debt collector within the meaning of 15
14
      USC 1692a(6); since Defendants("TW")and("TWC")is attempting collection of a debt from
15
      Plaintiff who is NOT A CUSTOMER OF("TW")and("TWC")
16
             38.     Defendants("TW")and("TWC")violated the FDCPA,Defendants("TW") and
17
18 ("TWC")'s violations include, but are not limited to: the following:

19           a. Defendants("TW")and("TWC")violated 15 USC §1692g, by failing to cease
                collection until they validate or verify the debt.
20
             b. Defendants("TW")and("TWC")violated 15 USC §1692e(8), by communicating or
21              threatening to communicate to any person credit information which is known or
                which should be known to be false, including the failure to communicate that a
22              disputed debt is disputed.
             c. Defendants("TW")and("TWC")violated 15 USC §1692e(10), by the use of any
23
                false representation or deceptive means to collect or attempt to collect any debt or to
24              obtain information concerning a consumer.

25           39.     Defendants("TW")and("TWC")were notified verbally over the phone and in
26
      writing by Plaintiff in the notice to commence an action, that the debt was in dispute, did not
27

28


      VERIFIED COMPLAINT FOR DAMAGES                                                              Page
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       belong to Plaintiff, and the calls to Plaintiffs emergency cell were to stop, and required
 1
 2     verification and validation.

 3            40.     Defendants("TW")and("TWC")continued collection ofthe debt.
 4
              WHEREFORE,Plaintiff demands judgment for damages against("TW")and("TWC")
 5
       for statutory damages OF $1,000.00, attorney's fees and costs, pursuant to 15 U.S.C. §1692.
6
 7                             THIRD CAUSE OF ACTION
        VIOLATION OF CALIFORNIA ROSENTHAL FAIR DEBT COLLECTION
 8     PRACTICES ACT CC 1788 et seq. BY DEFENDANTS("TW")AND(TWC").
9             41.     Plaintiff's re-alleges and incorporates by reference the facts and allegations
10
       contained in the Paragraphs above as though fully set forth herein.
11
              42.     Plaintiff is a consumer within the meaning of 15 USC 1692 et seq.
12
13 j          43.     Defendants("TW")and("TWC")is seeking to collect a consumer debt from
14 '
       Plaintiff as defined by Cal. Civ. §1788.100.
15
              44.     The account in question is a consumer credit transaction ad defined by Cal. Civ.
16
17     §1788.2(e) as Plaintiff has allegedly received property, services or money from the Defendants

18     on an extension of credit and such property, services or money was used primarily for personal,
19 family or household purposes.
20
              45.     Defendants("TW")and("TWC")has damaged Plaintiff by violations of CCC
21
       1788 as follows:
22
23            a. § 1788.10(c) debt collector knows will defame the debtor.                            I
              b. § 1788.100 threat to take action which is prohibited by this title.
24            c. § 1788.11(e) constitute an harassment.
              d. § 1788.12(c) communicating ..deadbeat list(debt report).
25
              e. § 1788.13(j)false representation .. threatening service termination.. unless payment
26               is made.
              f. § 1788.17 shall comply with provisions of 1692b to 1692j; subject to 1692k.
27
28


       VERIFIED COMPLAINT FOR DAMAGES                                                               Page
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               WHEREFORE,Plaintiff demandsjudgment for damages against("TW")and(TWC")
 1

 2      for statutory damages of $1,000.00, attorney's fees pursuant to §1788.30(b) and costs, pursuant

 3

 4
 5

 6

 7
 8                                       DEMAND FOR TRIAL BY JURY

 9             Plaintiff hereby demands a trial by jury of all issues, so triable as a matter oflaw.
10

11      October 24, 2016
                                                      Respectfully submitted:
12

13 I~

14                                                    J   es Poet, Plaintiff Pro Se
15                                  VERIFICATION: OF James Poet
16
               I,James Poet, declare as follows:
17 I

18             1.     I am the Plaintiff in the above entitled matter.
19
               2.     I am ofage, sound of mind and competent to testify to facts based on
20

21                    firsthand knowledge of above items so stated.
22
               3.     I have been damaged financially, socially and emotionally as a result
23
                      of Defendant's unlawful actions and violations as stated in the
24

25                    attached complaint..
26
               4.     I have read the foregoing pleading and know the facts therein stated t
27
28                    be true and correct.


        VERIFIED COMPLAINT FOR DAMAGES                                                             Page 1
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  1             5.      I declare, under penalty of perjury pursuant to the laws of California,

 2                      that the foregoing is true and correct to the best of my knowledge,
 3
                        information and belief.
 4
 5
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         VERIFIED COMPLAINT FOR DAMAGES                                                 Page 1
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EXHIBIT A GALL AND TEXT LOG FROM DEFENDANTS TW AND TWC TO POET




                         AM   CALL FROM                           AM TEXT FROM
DATE        TIME         PM   NUMBER           DATE        TIME   PM NUMBER
 10/24/2015         9:15 AM     18008922253
 10/24/2015         3:15 PM     18008922253    3/26/2016     9:53 AM       180545953
  11/9/2015         1:33 PM     18008922253     4/7/2016    10:36 AM           61373
   2/3/2016         9:24 AM      18008922253   4/28/2016     9:57 AM           61373
   2/9/2016         1:22 PM     18008922253     5/2/2016    10:20 AM           61373
  3/28/2016        12:03 PM     18008922253    5/20/2016    12:25 PM           61373
  4/28/2016         9:57 AM     18008922253    5/25/2016     5:19 PM           61373
  5/20/2016        12:25 PM     18008922253     8/1/2016     9:31 AM           61373
  8/16/2016        11:17 AM     18442492625     9/1/2016    10:35 AM           61373
  8/16/2016         2:24 PM     18442492625
  8/16/2016         3:08 PM     18442492625
  8/20/2016        12:13 PM     18008922253
  8/22/2016         4:12 PM     18008922253
  8/24/2016         9:15 AM     18008922253
  8/24/2016        12:26 PM     18008922253
  8/28/2016        10:33 AM     18008922253
  8/28/2016        12:30 PM     18888922253
  9/24/2016         1:37 PM     18008922253
  10/7/2016         9:50 AM     18008922253

                              19 PHONE CALLS                      8 EA TEXTS

MESSAGES STILL ON MY PRIVATE CELL PHONE                           5 EA M ESSAG ES

TOTAL OF ALL CALLS NOT COUNTING JUNE/JULY                         32 CALLS/TEXTS/MESSAGES




EXHIBIT A CALL AND TEXT LOG FROM DEFENDANTS TW AND TWC TO POET
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